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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                  4:06CR00410-07

DAVID WAYNE ALLEN
                                         ORDER

      Pending is the Prosecution’s Motion to Dismiss the Indictment against Defendant David

Wayne Allen (Doc. No. 144).

      For good cause shown, the Prosecution’s Motion to Dismiss the Indictment against

Defendant David Wayne Allen (Doc. No. 144) is GRANTED. Accordingly, the Indictment is

DISMISSED as to David Wayne Allen.

      IT IS SO ORDERED this 10th day of December, 2007.




                                                       /s/Wm. R. Wilson, Jr.
                                                 UNITED STATES DISTRICT JUDGE




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